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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


  ANSON CHI, #44588-177                           §
                                                  §
  v.                                              §              CIVIL ACTION NO. 4:19cv793
                                                  §         CRIMINAL ACTION NO. 4:12cr155(1)
  UNITED STATES OF AMERICA                        §

                                   ORDER OF DISMISSAL

        The above-entitled and numbered civil action was referred to United States Magistrate

 Judge Kimberly C. Priest Johnson, who issued a Report and Recommendation concluding that the

 motion to vacate, set aside, or correct sentence should be denied and dismissed with prejudice.

 Movant has filed objections.

        The Report of the Magistrate Judge, which contains proposed findings of fact and

 recommendations for the disposition of such action, has been presented for consideration. Having

 made a de novo review of the objections raised by Movant to the Report, the court is of the

 opinion that the findings and conclusions of the Magistrate Judge are correct and adopts the

 same as the findings and conclusions of the court.

        It is accordingly ORDERED that the motion to vacate, set aside, or correct sentence is

 DENIED and Movant’s case is DISMISSED with prejudice. A certificate of appealability is

 DENIED. Finally, it is ORDERED that all motions not previously ruled on are hereby DENIED.


              .    SIGNED this the 6th day of November, 2021.




                                                           _______________________________
                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE
